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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


BETH ANN BRETOI,                                         Case No. 10-cv-4268 JRT-JSM

                             Plaintiff,
               vs.                                                    ORDER

AMERICAN CORADIUS INTERNATIONAL,
 LLC; BONNIE ZIMMERMAN; PHIL
MARTINO; KATIE DOE; DAVID ROTE;
JOHN DOE; AND JANE DOE,

                             Defendants.



         The court having been advised that the above-entitled action has been resolved, IT

IS ORDERED that the above-entitled action against Defendants shall be and hereby is

DISMISSED WITH PREJUDICE, without costs, disbursements, or attorney fees to any

party.


         LET JUDGMENT BE ENTERED ACCORDINGLY.


DATED: January 5, 2011
at Minneapolis, Minnesota.                              s/ John R. Tunheim
                                                       JOHN R. TUNHEIM
                                                     United States District Judge
